
MONTIEL, Judge.
Fernando Demandes Small filed a petition styled as a petition for a writ of habe-as corpus. While the trial court properly treated the petition as a post-conviction proceeding under Rule 32, A.R.Cr.P., it did not give the appellant the opportunity to file a petition in the form required by 32.-6(a), A.R.Crim.P. Therefore, this case is remanded to the Mobile Circuit Court with directions that the appellant’s petition be returned to him so that he can have the opportunity to file a proper Rule 32 petition as required by Rule 32.6, A.R.Crim.P. Drayton v. State, 600 So.2d 1088 (Ala. Crim.App.1992); Nickerson v. State, 597 So.2d 762 (Ala.Crim.App.1992).
REVERSED AND REMANDED.
All Judges concur.
